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                             EXHIBIT A




                             EXHIBIT A
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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


                                                 Civil Action No. 3:14-CV-05358
   Channel Methods Partners, LLC,                BRIEF IN SUPPORT OF
   a New Jersey limited liability company        MOTION TO DISMISS OR IN
                                                 THE ALTERNATIVE FOR A
                            Plaintiff,           MORE DEFINITE
   v.                                            STATEMENT AND TO
                                                 TRANSFER VENUE
   Pharmatech, Inc.,
   a Colorado corporation
                            Defendant.




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        Defendant Pharmatech, Inc. (“Pharmatech”), by and through undersigned

  counsel and pursuant to F.R.C.P. 12(b)(2), F.R.C.P. 12(b)(6), F.R.C.P. 12(e), and

  28 U.S.C. § 1404(a), hereby brings this Brief in Support of its Motion to Dismiss

  or, in the alternative, for a More Definite Statement and to Transfer Venue

  (“Motion”) and states the following in support:

                                 INTRODUCTION

        Plaintiff’s effort to hale Pharmatech into a New Jersey court violates

  Pharmatech’s due process rights and is directly in violation of the parties’

  agreement that any such disputes would be resolved in Colorado.

        Pharmatech is a Colorado corporation with insufficient contacts with the

  state of New Jersey to confer jurisdiction over Pharmatech. Moreover, Pharmatech

  did not purposefully avail itself of the privilege of conducting activities in New

  Jersey. Pharmatech entered into the contract with Plaintiff believing Plaintiff

  could deliver as promised under the terms of the contract. Those terms pertained

  to work to be performed nationally without any focus on New Jersey. The contract

  was agreed upon remotely and Pharmatech never attended any meetings in New

  Jersey. Finally, and most telling of the parties’ expectations, Plaintiff drafted a

  contract that called for the application of Colorado law as well as venue in

  Colorado.




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        Apart from the Complaint’s jurisdictional defect and the impropriety of this

  venue, Plaintiff’s various claims do not survive scrutiny:

           a. Plaintiff’s unjust enrichment claim must be dismissed because there is

               an express contract that governs the subject matter of the unjust

               enrichment claim.

           b. Several of Plaintiff’s claims are incorrectly plead and additionally,

               some fail because—according to the Complaint’s own language—

               those claims relate to mere “attempted” torts and/or breaches, which

               are not recognized causes of action, and in any event the tort claims

               are barred under the economic loss rule.

           c. Plaintiff’s claim that Pharmatech has “taken” Plaintiff’s proprietary

               information appears to be a claim for misappropriation and is so

               deficient in its particulars that Pharmatech cannot prepare a

               meaningful response.      That claim should be dismissed on other

               grounds, but if it is not, Plaintiff should be required to provide a more

               definite statement.

           d. Finally, Plaintiff’s claims for punitive damages, indirect damages,

               special damages, and other damages above and beyond the fees called

               for by contract, are expressly prohibited by the contract itself and

               must be dismissed as a matter of law.


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                                   BACKGROUND


  Facts Pertaining to Personal Jurisdiction and Venue

        1.     Pharmatech’s sole office is located in Denver, Colorado.             See

  Declaration of Robert Bohacs (“Bohacs Dec.”) at ¶ 2, which is attached hereto for

  the limited purpose of stating facts pertaining to personal jurisdiction and venue.

        2.     Pharmatech has significantly fewer employees than Plaintiff.

  Compare Bohacs Dec. at ¶ 3 with Complaint at ¶ 1.

        3.     Pharmatech does not maintain any offices in New Jersey, does not

  own or lease any real property in New Jersey, does not maintain any bank accounts

  in New Jersey, and does not direct any advertising or marketing toward New

  Jersey. Bohacs Dec. at ¶ 11.

        4.     Pharmatech has several employees across multiple states who work

  remotely via web and telephone. Two of those employees live in New Jersey, but

  their residence in New Jersey has no significance to Pharmatech’s operations and

  no bearing on the contract at issue. Bohacs Dec. at ¶ 5.


  The Governing Contract and its Limitation of the Plaintiff’s Action

        5.     Pharmatech and Plaintiff entered into a contract on May 30, 2013

  (henceforth “Contract”). Complaint at ¶ 8; see also Exhibit A to Declaration of

  Maritza Dominguez Braswell, which is a true and correct copy of the Contract.


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           6.      The Contract is on Plaintiff’s letterhead, and Plaintiff drafted the

  Contract. Bohacs Dec. at ¶ 6.

           7.      The parties intended, and Plaintiff wrote into the Contract, that any

  legal disputes would be resolved in Colorado. See Contract at § 12; Bohacs Dec. at

  ¶ 7.

           8.      Pharmatech and Plaintiff agreed to the essential terms of the Contract

  via email and telephone and Pharmatech never traveled to New Jersey to negotiate

  or execute the Contract. Bohacs Dec. at ¶ 8.

           9.      The Contract pertained to Plaintiff’s work to be performed nationally

  and without any particular focus on New Jersey. Bohacs Dec. at ¶ 9.

           10.     The Contract referred to a “kick-off meeting” related to the services to

  be performed under the Contract. Contract at § 11. That “kick-off meeting”

  occurred via telephone, with Pharmatech employees located in Colorado. Bohacs

  Dec. at ¶ 10.

           11.     The Contract contains a clause limiting each party’s liability to the

  other:

                 IN NO EVENT WILL EITHER PARTY BE LIABLE TO THE
                 OTHER PARTY FOR (A [sic] ANY SPECIAL,
                 CONSEQUENTIAL, INDIRECT OR SPECIAL DAMAGES,
                 INCLUDING ANY LOST PROFITS OR LOST PHARMATECH
                 [sic] ARISING OUT OF THE SERVICES PERFORMED
                 HEREUNDER; AND (B) ANY AMOUNTS IN EXCESS OF THE
                 FEES PAID FOR THE SERVICES.


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  Contract at § 7 (capitalization in original). Nevertheless, the Complaint asserts

  several claims which seek punitive damages. See generally Complaint.

        12.    The Contract sets forth the parties’ respective duties concerning the

  hiring of employees “for a period of eighteen (18) months following termination”

  of the Contract. Contract at § 5.

        13.    The Contract also contains a clause labeled “Confidentiality & Non-

  Compete,” which sets forth the parties’ respective duties concerning “proprietary

  and confidential information.” Contract at § 6.

                                LEGAL STANDARD

  Personal Jurisdiction

        While a plaintiff’s allegations must be accepted as true in deciding a motion

  to dismiss under F.R.C.P. 12(b)(2), the plaintiff bears the burden of proving, by a

  preponderance of the evidence, that personal jurisdiction is proper. IMO Indus.,

  Inc. v. Kiekert AG, 155 F.3d 254, 257 (3d Cir. 1998) (citation omitted).


  Failure to State a Claim

        “In order to survive a motion to dismiss under Federal Rule of Civil

  Procedure 12(b)(6), a complaint must allege facts that raise a right to relief above

  the speculative level.” Figueroa v. City of Camden, 580 F. Supp. 2d 390, 396-97

  (D.N.J. 2008) (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

  “While a court must accept as true all allegations in the plaintiff's complaint, and

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  view them in the light most favorable to the plaintiff, a court is not required to

  accept sweeping legal conclusions cast in the form of factual allegations,

  unwarranted inferences, or unsupported conclusions. Id. at 397 (citing Phillips v.

  County of Allegheny, 515 F.3d 224, 231 (3d Cir. 2008); Morse v. Lower Merion

  Sch. Dist., 132 F.3d 902, 906 (3d Cir. 1997)). “The complaint must state sufficient

  facts to show that the legal allegations are not simply possible, but plausible.” Id.

  (citing Phillips, 515 F.3d at 234).

        Where a document is expressly referenced throughout a Complaint or is

  otherwise central to a plaintiff’s claims, the Court may consider the document itself

  when ruling on a motion to dismiss without converting the motion into a motion

  for summary judgment. Yadon v. Lowry, 126 P.3d 332, 335-36 (Colo. App. 2005);

  see also Pension Benefit Guar. Corp. v. White Consol. Indus., Inc., 998 F.2d 1192,

  1196 (3d Cir.1993) (noting, “[o]therwise, a plaintiff with a legally deficient claim

  could survive a motion to dismiss simply by failing to attach a dispositive

  document on which it relied”).


  Venue
       A forum-selection clause in a contract “may be enforced through a motion to

  transfer under [28 U.S.C.] § 1404(a).” Atl. Marine Const. Co., Inc. v. U.S. Dist. Ct.

  for W. Dist. of Texas, 134 S. Ct. 568, 579 (2013). “[P]roper application of §

  1404(a) requires that a forum-selection clause be given controlling weight in all


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  but the most exceptional cases” due to the “interest of justice” clause in 28 U.S.C.

  § 1404(a). Id. (citations and quotation marks omitted).

                                  CHOICE OF LAW

        With regard to a contractual choice of law provision, federal courts sitting in

  diversity look to the law of the forum state in making a choice of law

  determination. Robeson Industries Corp. v. Hartford Acc. & Indem. Co., 178 F.3d

  160, 165 (3d Cir. 1999) (citations omitted).        New Jersey law states that a

  contractual choice of law provision will be upheld unless doing so would violate its

  public policy. Lucey v. FedEx Ground Package Systems, Inc., No. 07-4372, 2009

  WL 51644, at *1 n. 3 (3d Cir. Jan. 8, 2009); see also Instructional Systems, Inc. v.

  Computer Curriculum Corp., 130 N.J. 324, 341-42, 614 A.2d 124, 133 (N.J. 1992)

  (following the Restatement (Second) of Conflicts of Laws § 187 (1969), which

  provides that “the law of the state chosen by the parties will apply, unless either:

  (a) the chosen state has no substantial relationship to the parties or the transaction

  and there is no other reasonable basis for the parties' choice, or (b) application of

  the law of the chosen state would be contrary to a fundamental policy of a state

  which has a materially greater interest than the chosen state in the determination of

  the particular issue and which…would be the state of the applicable law in the

  absence of an effective choice of law by the parties”).




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        Where, as here, the chosen state is where one of the parties resides or has its

  headquarters, courts have found the chosen state to have a sufficiently “substantial

  relationship” to the parties and have upheld the parties’ choice of law. Campmor,

  Inc. v. Brulant, LLC, Civ. No. 09-5465, 2010 WL 1381000, at *2 (D.N.J. Apr. 1,

  2010); In re Frontier Airlines, Inc., 88 B.R. 332, 335 (Bankr. D. Colo. 1988).



                                     ARGUMENT
  I.    The Complaint Should Be Dismissed Because Pharmatech Lacks
  Minimum Contacts Sufficient to Establish Personal Jurisdiction in New
  Jersey

        The Third Circuit has stated the following with respect to personal

  jurisdiction over an out-of-state defendant:

            [T]o exercise personal jurisdiction over a defendant, a federal court
            sitting in diversity must undertake a two-step inquiry. First, the
            court must apply the relevant state long-arm statute to see if it
            permits the exercise of personal jurisdiction; then, the court must
            apply the precepts of the Due Process Clause of the Constitution.
            In New Jersey, this inquiry is collapsed into a single step because
            the New Jersey long-arm statute permits the exercise of personal
            jurisdiction to the fullest limits of due process. This being the
            case, the New Jersey Supreme Court has made it clear that New
            Jersey courts look to federal law for the interpretation of the limits
            on in personam jurisdiction.
  IMO Indus., 155 F.3d at 258-59 (citations omitted).

        Personal jurisdiction under the due process clause requires the plaintiff to

  show that the defendant has “purposefully directed its activities toward the

  residents of the forum state, or otherwise purposefully availed itself of the privilege

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  of conducting activities within the forum State, thus invoking the benefits and

  protections of its laws.” Id. at 259 (citations omitted).

        Independent of specific jurisdiction, “[g]eneral jurisdiction exists when a

  defendant has maintained systematic and continuous contacts with the forum

  state.” Kehm Oil Co. v. Texaco, Inc., 537 F.3d 290, 300 (3d Cir. 2008). To

  warrant the exercise of general jurisdiction, these contacts must be so pervasive

  that the defendant is “essentially at home” in the forum state. Faber v. Townsend

  Farms, Inc., Civ. A. No. 13-cv-02423, 2014 WL 2892249, at *4 (D. Colo. June 26,

  2014) (citation and quotation marks omitted); Cmty. Fin. Grp., Inc. v. Stanbic Bank

  Ltd., Civ. A. No. 12-3851, 2013 WL 3223371, at *2 (D.N.J. June 25, 2013) (citing

  Goodyear Dunlop Tires Op., S.A. v. Brown, 131 S.Ct. 2846, 2851 (2011)).


  A.    Specific Jurisdiction Over Pharmatech is Lacking

        First, there are insufficient contacts with New Jersey to confer specific

  jurisdiction.   Pharmatech agreed to the Contract from Colorado, entered the

  Contract from Colorado, and participated in the “kick-off meeting” contemplated

  by the Contract from Colorado. Pharmatech merely phoned into New Jersey when

  corresponding with Plaintiff concerning the Contract, and those phone calls were

  short and infrequent. Bohacs Dec. at ¶ 8. These types of communication have

  been found insufficient to satisfy the minimum contacts requirement for specific

  jurisdiction.   See Mellon Bank (East) PSFS, N.A. v. DiVeronica Bros., Inc., 983

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  F.2d 551, 556 (3d Cir.1993) (telephone calls to forum state held insufficient to

  confer personal jurisdiction); see also Pfundstein v. Omnicom Group Inc., 285 N.J.

  Super. 245, 251-52, 666 A.2d 1013, 1016 (1995) (finding insufficient contacts

  where the only connection to New Jersey was that plaintiff was a New Jersey

  resident and there were interstate phone and mail communications leading up to

  the formation of the contract at issue).

        Second, Pharmatech did not purposefully avail itself of the privilege of

  conducting business in New Jersey. The Contract does not pertain to New Jersey-

  centric work or services and Plaintiff fails to plead any nexus between its services

  and New Jersey. Plaintiff alleges that,

               CMP forms and establishes sales forces or sales groups
               which a company can retain to locate and qualify
               opportunities with pharmaceutical companies and life
               services or medical equipment companies, to whom the
               client can then sell its products and services.

  Complaint at ¶ 3. The Complaint goes on to describe CMP’s business model,

  contact list, processes, and information exchange, none of which is alleged to have

  a New Jersey focus. Complaint at ¶¶ 4-7.

        Although Pharmatech has several employees that work remotely and two

  happen to live in New Jersey, those employees were not involved in procuring the

  Contract or in performing any services under the Contract. Thus, this minor New

  Jersey connection is entirely unrelated to the litigation.


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         Furthermore, the only New Jersey connection Plaintiff pleads other than its

  own residence, is that the Contract “was entered into in New Jersey, with all of

  CMP services being performed in New Jersey.” 1 Complaint at ¶ 9. However, that

  Plaintiff may have performed this nationwide work from New Jersey is of no

  moment because Plaintiff’s “unilateral activity” does not constitute Pharmatech’s

  “purposeful availment” of the laws of the state of New Jersey required for specific

  jurisdiction. See Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475 (1985) (the

  “purposeful availment requirement ensures that a defendant will not be haled into a

  jurisdiction solely as a result of random, fortuitous, or attenuated contacts, or of the

  unilateral activity of another party”) (citations and internal punctuation omitted);

  see also D'Elia v. Grand Caribbean Co., Civ. A. No. 09-1707, 2011 WL 6153704,

  at *6 (D.N.J. Dec. 12, 2011) (dismissing case for lack of personal jurisdiction and

  stating, “‘an individual's contract with an out-of-state party alone [cannot]

  automatically establish sufficient minimum contacts in the other party's home

  forum.’”) (quoting Burger King Corp., 471 U.S. at 478) (brackets in original).

         Pharmatech never sought to engage CMP because they are a New Jersey

  company. Pharmatech engaged CMP because CMP purported to have nationwide

  contacts and the ability to deliver under the terms of the Contract (none of which

  were New Jersey focused).              Bohacs Dec. at ¶ 9.            Thus, Pharmatech never

  1
   As set forth above, however, Pharmatech agreed to the Contract while located in Colorado. See Bohacs
  Dec. at ¶ 8.
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  purposefully availed itself of the privilege of conducting any activity in New

  Jersey; and moreover, the choice of law provision in the Contract reflects a clear

  intent to invoke the benefits and protections of Colorado law, not New Jersey law.

  See generally Burger King Corp., 471 U.S. at 482 (“choice-of-law provision [need

  not] be ignored in considering whether a defendant has purposefully invoked the

  benefits and protections of a State’s laws for jurisdictional purposes.”) (internal

  quotation marks omitted).

        Third, even if the Court determines that Pharmatech purposefully established

  minimum contacts with New Jersey, other factors must be considered in

  determining “whether the assertion of personal jurisdiction would comport with

  ‘fair play and substantial justice.’” Burger King Corp., supra, 471 U.S. at 476

  (quoting International Shoe Co. v. Washington, 326 U.S. 310, 320 (1945)). Those

  factors include the burden on the defendant, and the interstate judicial system's

  interest in obtaining the most efficient resolution of controversies. Id. at 477

  (citing World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 292 (1980)).

        Here, those factors counsel against the Court’s exercise of jurisdiction.

  Plaintiff is a larger company than Pharmatech, and it would substantially burden

  Pharmatech to appear in New Jersey to litigate this case. Bohacs Dec. at ¶¶ 3, 12;

  Complaint at ¶ 1. See Burger King Corp., supra, 471 U.S. at 476-77. Moreover,

  the Contract calls for the application of Colorado law, and having a Colorado court


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  apply Colorado law would be “the most efficient resolution” of this controversy.

  Id.

         As such, the Court should decline to exercise specific jurisdiction over

  Pharmatech.


         B.     General Jurisdiction Over Pharmatech is Lacking

         In the absence of specific jurisdiction over Pharmatech in this matter, the

  Court may inquire of its general jurisdiction over Pharmatech. No such general

  jurisdiction exists.

         Pharmatech’s sole office is in Colorado. Bohacs Dec. at ¶ 2. Although

  Pharmatech has many employees who work remotely and two of them happen to

  live in New Jersey, Pharmatech does not maintain any offices in New Jersey, does

  not own or lease any real property in New Jersey, does not maintain any bank

  accounts in New Jersey, and does not direct any advertising or marketing toward

  New Jersey. Bohacs Dec. at ¶ 11. Simply put, Pharmatech does not have the

  “systematic and continuous contacts” with New Jersey that would warrant the

  exercise of general jurisdiction. Kehm Oil Co., 537 F.3d at 300; see also Zibiz

  Corp. v. FCN Technology Solutions, 777 F.Supp.2d 408, 419 (E.D.N.Y. 2011)

  (collecting cases to support the proposition that the mere presence of a

  telecommuting employee within the forum state is insufficient to establish general

  jurisdiction); Craig v. Siemens Energy, Inc., 2011 WL 3240458, *2 (W.D.La. Jun.

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  22, 2011) (finding defendant’s presence in Louisiana fell short of the substantial,

  continuous and systematic contacts required for general jurisdiction where

  defendant had no office, phone, mailing address, bank account, real estate or other

  assets, but had a small operation with only 10 of its 2,000 employees there);

  Ingeniador, LLC v. Interwoven, 874 F.Supp.2d 56, 62 (D. Puerto Rico 2012)

  (finding it could not assert general jurisdiction over a company that was not

  registered in Puerto Rico, did not have bank accounts or a mailing address in

  Puerto Rico, and had only one employee and sixteen clients in Puerto Rico). Nor

  is Pharmatech “essentially at home” in New Jersey, such that the exercise of

  general jurisdiction would be appropriate.

        Given that neither specific nor general jurisdiction exists, the Court should

  dismiss this case.    If the Court is inclined to decide the issue of personal

  jurisdiction on the basis of any inferences drawn in Plaintiff’s favor, Pharmatech

  requests a hearing on the matter of personal jurisdiction so any factual issues can

  be fully addressed.


  II.   If the Court Does Not Dismiss the Entire Complaint for Lack of
  Personal Jurisdiction, It Should Dismiss Plaintiff’s Tort Claims For Failure to
  State a Claim, and As Barred By the Economic Loss Rule

        In its third and fourth claims, Plaintiff alleges tortious interference with a

  contract and tortious interference with prospective economic advantage. Plaintiff


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  fails to plead the necessary elements, but in any event is barred from making those

  claims pursuant to the economic loss rule.

         A.      The Court Should Dismiss Plaintiff’s Third Count for “Tortious
                 Interference of Contract”
         Plaintiff’s Tortious Interference of Contract claim must be dismissed

  because Plaintiff has failed to plead the requisite elements and because the claim is

  barred by the economic loss rule.

         “To be liable for intentional interference with contract, a defendant must 1)

  be aware of a contract between two parties, 2) intend that one of the parties breach

  the contract, 3) and induce the party to breach or make it impossible for the party

  to perform the contract.” Krystkowiak v. W.O. Brisben Companies, Inc., 90 P.3d

  859, 871 (Colo. 2004).2

         Plaintiff has failed to plead the third element—that Pharmatech’s actions

  actually induced a breach of the underlying contract. Indeed, other than a passive

  reference to a purported “employment contract,” Plaintiff does not allege any facts

  concerning the underlying “employment contract.” Complaint ¶ 26. Plaintiff does

  not allege whether that contract is valid, enforceable, and binding, or terminable at

  will. Thus, Plaintiff does not sufficiently plead even the existence of a valid

  2
    See also Foxtons, Inc., v. Cirri Germain Realty, 2008 WL 465653 at *7 (N.J. Super. Ct. App. Div. App.
  Feb. 22, 2008) (holding plaintiff must prove the following, similar elements to succeed on its tortious
  interference claim: 1) actual interference with the contract; 2) that the interference was inflicted
  intentionally by a defendant who is not a party to the contract; 3) that the interference was without
  justification; and 4) that the interference caused damage—and dismissing the claim for failure to
  sufficiently plead facts relating to defendants’ conduct and intent).
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  contract that is susceptible to breach, much less an actual breach of that contract

  (indeed, the allegations show the exact opposite—that there was no actual

  breach—because Plaintiff alleges Pharmatech merely “attempted” to hire an

  employee).        Plaintiff’s third claim for Tortious Interference of Contract must

  therefore be dismissed. See Baker v. Carpenter, 33 516 P.2d 459, 461 (Colo. App.

  1973) (affirming the dismissal of a tortious interference with contract claim

  because the actions of the defendant could not have actually induced a breach

  where there was in fact no breach of the underlying contract).

          Additionally, and even assuming Plaintiff adequately pled a tortious

  interference of contract claim, the economic loss rule bars such a claim here. 3

  Pursuant to the economic loss rule, which “serves to maintain a distinction between

  contract and tort law,” a plaintiff must make the mandatory election between

  breach of contract claims or tort claims “at the outset of a lawsuit.” Town of Alma

  v. Azco Constr., Inc., 10 P.3d 1256, 1262-64 (Colo. 2000) (“We have previously

  recognized a court's duty to determine, at the outset of a lawsuit, the type of duty

  that has allegedly been breached”) (citation omitted). Although courts have found

  that the economic loss rule creates “substantial confusion,” the “confusion can be

  avoided… by maintaining the focus on the source of the duty alleged to have been

  3
    If tort claims are barred by the economic loss rule, they are properly dismissed at the outset of a lawsuit
  through a motion to dismiss. See Van Rees v. Unleaded Software, Inc., No. 12CA1014, 2013 WL
  6354532, at * 2-4 (Colo. App. Dec. 5, 2013) (affirming trial court's dismissal of tort claims, including
  claims for fraud and negligent misrepresentation, under C.R.C.P. 12(b)(5), pursuant to economic loss
  rule).
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  violated.” Id. at 1263. Where a tort claim is based solely on the alleged breach of a

  contractual duty and results purely in economic loss,4 it is barred by the economic

  loss rule. Id. at 1266. 5 See JDB Med., Inc. v. The Sorin Grp., S.p.A., Civ. Action

  Nos. 07-cv-00350, 07-cv-00591, 2008 WL 10580039, at *5 (D. Colo. June 11,

  2008).

          In JDB Med, the court confronted a claim for interference with an agreement

  between plaintiff and its sub-representative. Id. at *4. The claim alleged “that

  [defendant] induced [plaintiff’s sub-representative] to abandon his sub-

  representative agreement with [plaintiff], and to work directly for [defendant]

  instead.” Id. at *6. However, because “[t]he standards applicable to [defendant's]

  actions concerning sub-representatives are controlled by the [contract between

  plaintiff and defendant,]” the court found that dismissal under the economic loss

  rule was appropriate. Id.

          Similarly here, this is a contract case, not a tort case. The subject matter that

  forms the basis for each of Plaintiff’s claims, including its third claim for Tortious

  Interference of Contract is expressly covered by the Contract. Indeed, Plaintiff’s

  third count expressly relies on “Clause 5” of the Contract whereby the parties

  4
    “Economic loss is defined generally as damages other than physical harm to persons or property.” Town
  of Alma, 10 P.3d at 1264.
  5
    New Jersey courts similarly find that the economic loss rule “bars resort to tort theories of liability when
  the relationship between the parties is based on a contractual relationship.” Horizon Grp. Of New
  England, Inc. v. N.J. Schools Constr. Corp., 2011 WL 3687451, at *5 (N.J. Super. App. Div. Aug. 24,
  2011) (affirming dismissal of tort claims pursuant to the economic loss rule because the parties’ duties
  were defined by contract).
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  agreed to “not hire each other [sic] employees.” Complaint at ¶ 25. It is the

  alleged “attempted” breach of Clause 5 in the Contract—and not some independent

  tort—that forms the basis for Plaintiff’s third claim for relief. Id. at ¶ 26.

          Because the economic loss rule prevents Plaintiff from transforming what

  are truly contract claims into tort claims, and because Plaintiff has failed to

  properly plead a tortious interference of contract claim, Plaintiff’s third claim for

  Tortious Interference of Contract should be dismissed as a matter of law.

          B.      The Court should Dismiss Plaintiff’s Fourth Count for “Tortious
                  Interference of Prospective Economic Advantage”
          Plaintiff’s Tortious Interference of Prospective Economic Advantage claim

  should also be dismissed because Plaintiff has failed to plead the requisite

  elements, and because the claim is barred by the economic loss rule.

          “Under Colorado law, ‘the crucial question in determining liability for

  tortious interference with prospective financial advantage is whether defendant's

  interference was intentional and improper.’” Occusafe, Inc. v. EG&G Rocky Flats,

  Inc., 54 F.3d 618, 622 (10th Cir. 1995) (quoting Cronk v. Intermountain Rural

  Elec. Ass'n, 765 P.2d 619, 623 (Colo. App. 1988)).6




  6
    Similarly, under New Jersey law, a plaintiff must plead and prove intent and malice. Kopp, Inc. v.
  United Technologies, Inc., 223, N.J. Super. 548, 559, 539 A.2d 309, 315 (N.J. Super. Ct. App. Div. 1988)
  (“this cause of action requires a tripartite situation wherein a third party intentionally and maliciously
  interferes with a present or prospective relationship between two other parties”).


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            The Complaint contains no allegation that Pharmatech’s actions were

  improper.         Instead, Plaintiff merely alleges that Pharmatech has continued to

  contact other businesses using information introduced by Plaintiff, and that contact

  allegedly has resulted in a benefit to Pharmatech, to the detriment of CMP.

  Complaint ¶¶ 30-33. Even if these allegations are accepted as true (as they must be

  for the limited purpose of resolving this motion to dismiss) there is nothing

  “improper” about any alleged continued contact with other businesses. In short,

  Plaintiff has failed to plead (and indeed cannot prove) any impropriety on the part

  of Pharmatech.             Thus, Plaintiff’s fourth claim for Tortious Interference of

  Prospective Economic Advantage should be dismissed.

            Additionally, with reference to the Restatement (Second) of Torts (1979),7

  Occusafe clarifies an important exception to viable suits for intentional

  interference with prospective economic advantage:

                 As a general rule, however, a plaintiff cannot sue one of its
                 competitors for intentional interference in prospective economic
                 advantage. This “competitor's privilege” is set out in section
                 768(1) of the Restatement of Torts, which has been endorsed by the
                 Colorado Supreme Court. Section 768(1) specifically provides:

                     One who intentionally causes a third person not to enter
                     into a prospective contractual relation with another who
                     is his competitor ... does not interfere improperly with the
                     other's relation if (a) the relation concerns a matter
                     involved in the competition between the actor and the
                     other and (b) the actor does not employ wrongful means

  7
      See the Occusafe court’s abbreviation of the Restatement (Second) of Torts’ title at 54 F.3d at 622.
                                                        19
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               and (c) his action does not create or continue an unlawful
               restraint of trade and (d) his purpose is at least in part to
               advance his interest in competing with the other.

  Occusafe, 54 F.3d at 622-23 (internal citations omitted).           This competitor’s

  privilege “applies when the parties compete in any way[.]” Id. at 623 (emphasis in

  original).

        Here, Plaintiff’s own allegations import application of the competitor’s

  privilege. Plaintiff alleges that Pharmatech has “the goal of placing Pharmatech in

  the place of CMP in regard to any relationship with CMP’s customers and business

  contacts.” Complaint at ¶ 32. This allegation has little meaning if CMP does not

  consider itself to be in competition with Pharmatech over the subject “customers

  and business contacts.”

        Applying this carve-out, Plaintiff’s fourth claim for Tortious Interference of

  Prospective Economic Advantage should be dismissed for failure to sufficiently

  plead the inapplicability of the competitor’s privilege. See Restatement (Second)

  of Torts¸ § 768 (1979), cmt a (under the “American system of free enterprise[,]”

  the failure to plead the inapplicability of the competitor’s privilege can constitute

  the failure to plead a claim for tortious interference of prospective economic

  advantage, as there is “no consensus” that the privilege is instead an affirmative

  defense).




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         First, the term “wrongful means” in the Restatement’s articulation of the

  competitor’s privilege “refers to conduct such as ‘physical violence, fraud, civil

  suits, and criminal prosecutions.’” Id. (citations omitted). Plaintiff has not alleged

  that Pharmatech employed any “wrongful means.”            Indeed, and as discussed

  above, Plaintiff has not even alleged impropriety, much less conduct rising to the

  level of fraud or violence, as would be required to avoid application of the

  competitor’s privilege.

         Second, Plaintiff alleges no unlawful restraint of trade in Pharmatech’s

  actions. Third, Plaintiff’s allegation that Pharmatech is seeking to place itself “in

  the place of CMP in regard to any relationship with CMP’s customers and business

  contacts[,]” (Complaint at ¶ 32)—if accepted as true for the limited purpose of

  adjudicating this motion to dismiss—concedes the last element of the competitor’s

  privilege: that Pharmatech’s “purpose is at least in part to advance [its] interest in

  competing with [Plaintiff].” In sum, the Complaint fails to allege sufficient facts to

  avoid application of the “competitor’s privilege,” and therefore fails as a matter of

  law.

         Additionally, Plaintiff’s fourth count should be dismissed because it is

  barred by the economic loss rule. See generally supra Section II.A. (discussing

  application of the economic loss rule). A claim for interference with prospective

  business advantage was dismissed pursuant to the economic loss rule in similar


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  circumstances in Sweeney v. Marvin Windows, Inc., Civ. A. No. 10-cv-00457,

  2010 WL 4256195 (D. Colo. Oct. 20, 2010). The Sweeney plaintiff alleged, inter

  alia, that defendants tortiously interfered with plaintiff’s prospective economic

  advantage when defendants encouraged a sales representative to leave plaintiff’s

  employment. Id. at *4. The court rejected the argument, finding that “[b]ecause

  Plaintiff has not identified any duties independent of his contractual agreement

  with the Defendants or other conduct amounting to improper interference, I

  conclude that this claim should be dismissed.” Id. See also JDB Med., Inc., supra,

  2008 WL 10580039 at *6 (dismissing interference with prospective business

  relationships claim pursuant to economic loss rule because issue was “tied

  directly” to contract between parties).

        Here, Plaintiff’s fourth count is based on Pharmatech’s alleged taking of

  “proprietary business information” and “business contact information.” Complaint

  at ¶ 30. But the Contract expressly governs the parties’ conduct with respect to

  proprietary information. See Contract at § 6 (“CMP and Pharmatech agree to

  maintain the secrecy of each other’s proprietary and confidential information in

  accordance with the mutual Non-disclosure Agreement already executed by both

  parties.”). Plaintiff cannot supplant the previously agreed upon contractual terms

  and inject new duties into this contractual relationship under the guise of a tort

  claim. The fourth count should be dismissed pursuant to the economic loss rule.


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  III. Plaintiff’s Second, Fifth, and Sixth Claims are Duplicative and Should
  Be Dismissed For Failure to State a Claim Upon Which Relief Can Be
  Granted
        A.   The Court Should Dismiss Plaintiff’s Second Count for “Bad
             Faith Dealing” Because it is Duplicative of Plaintiff’s Third Count
             for Tortious Interference of Contract, Fails to State a Claim, and
             is based on the Express Terms of the Contract
         Plaintiff’s second claim for Bad Faith Dealing is merely a recasting of

  Plaintiff’s third claim for Tortious Interference of Contract. Compare Complaint

  at ¶¶ 16-20, with id. at ¶¶ 23-27 (Both are premised on Clause 5 of the Contract,

  which precludes hiring the others party’s employees, and both are premised on the

  allegation that Pharmatech attempted to hire Plaintiff’s employees. Courts have

  held that duplication alone is grounds for dismissal. Jones v. Lehmkuhl, Civ. A.

  No. 11-cv-02384, 2013 WL 6728951, at *14 (D. Colo. Dec. 20, 2013); Roberts v.

  Velez, Civ. A. No. 11-1198, 2011 WL 2745939, at *5 (D.N.J. July 12, 2011)

  (dismissing claims as duplicative). Pharmatech respectfully requests that the Court

  dismiss Plaintiff’s second claim as duplicative.

         Moreover, to the extent Plaintiff’s second claim amounts to an allegation

  that Pharmatech breached the implied covenant of good faith and fair dealing in the

  Contract, Plaintiff has failed to state a claim. Colorado courts recognize that the

  duty of good faith and fair dealing arises “when one party has discretionary

  authority to determine certain terms of the contract, such as quantity, price, or time.

  The duty may be relied upon only when the manner of performance under a


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  specific contract term allows for discretion on the part of either party.” Builder MT

  LLC v. Zybertech Const. Software Servs., LTD, Civ. A. No. 08-cv-00435, 2008 WL

  4724146, at *3 (D. Colo. Oct. 24, 2008) (citation and internal quotation marks

  omitted). Here, Plaintiff fails to state a claim. There is no allegation that there was

  any discretion in the performance of the Contract.

        Furthermore, a breach of implied duty of good faith and fair dealing claim

  will not survive where it is based upon, or would supplant, an express contract

  term. Gloston v. ITT Fed. Servs. Int'l Corp., Civ. A. No. 06-cv-02168, 2007 WL

  1830486, at *3 (D. Colo. June 21, 2007) (dismissing claim for breach of covenant

  of good faith and fair dealing to the extent it was “based on breach of an express

  term of the [contract and thus] subsumed under plaintiff's properly pled breach of

  contract claim and does not constitute a separate claim for relief”); Coldwell

  Banker Real Estate, LLC v. Plummer & Associates, Inc., Civ. A. No. 09-1313,

  2009 WL 3230840, at *3 (D.N.J. Oct. 2, 2009) (allegations failed to state a claim

  for breach of implied covenant of good faith and fair dealing failed to state a claim

  where “allegations pertain to conduct expressly governed” by the contract).

        Here, Plaintiff’s second claim for Bad Faith Dealing is anchored in the

  express terms of the Contract, see ¶¶ 18-19 (alleging an “attempted” breach of

  Clause 5 of the Contract), and Plaintiff cannot use the implied duty to supplant

  those express terms. Pharmatech did not breach Clause 5 (indeed Plaintiff does not


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  allege that). And any “attempted” breach (though there was none) is simply not

  actionable under the Contract.8 Thus, to the extent the second claim is considered

  a claim for breach of the implied duty of good faith and fair dealing, it must be

  dismissed as a matter of law.9

          B.       The Court Should Dismiss Plaintiff’s Fifth Count for “Unjust
                   Enrichment because an Express Contract Covers the Subject
                   Matter of this Dispute
          Plaintiff’s fifth claim for unjust enrichment also fails. “[I]t is generally the

  case that when a valid, express contract covers the subject matter of the parties'

  dispute, a plaintiff cannot recover under a quasi-contract theory such as unjust

  enrichment.” DBA Distribution Servs., Inc. v. All Source Freight Solutions, Inc.,

  Civ. A. No. 11-390, 2012 WL 845929, at *5 (D.N.J. Mar. 13, 2012) (internal

  quotation marks and citations omitted). Plaintiff does not disavow the Contract or

  in any way plead its fifth claim for relief in the alternative. The fifth claim for

  relief is not independent from the contract claims, plainly duplicates Plaintiff’s

  breach of contract claim, and should be dismissed.




  8
    Moreover, “[i]n tort law, unsuccessful attempts do not give rise to liability....” U.S. v. Gladish, 536 F.3d
  646, 648-49 (7th Cir. 2008); see also McAlpine v. AAMCO Automatic Transmissions, Inc., 461 F. Supp.
  1232, 1273 (E.D. Mich. 1978) (“Attempted interference with contract cannot rise to the level of tortious
  interference with contract merely because an attempt to interfere has been made.”).
  9
    To the extent this second claim for “Bad Faith Dealings” does not amount to a claim for breach of the
  implied duty of good faith and fair dealing and is instead considered a tort claim, it too (like its tort claim
  counterpart- tortious interference of contract) must be dismissed pursuant to the economic loss rule.
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            C.    The Court Should Dismiss Plaintiff’s Sixth Count for “Account
                  Stated” Because it Fails to State a Claim and is Duplicative
            Plaintiff’s sixth claim for relief (“Account Stated”) fails to state a claim for

  relief.     A claim for an account stated requires the allegation that the alleged

  creditor and alleged debtor both agree as to the exact and definite amount of

  money owed and that the alleged debtor agreed to pay that amount. Conyers v.

  Lee, 511 P.2d 506, 507 (Colo. App. 1973); Manley Toys, Ltd. v. Toys R Us, Inc.,

  Civ. No. 12-3072, 2013 WL 244737, at *5 (D.N.J. Jan. 22, 2013).                     Such

  allegations are absent from Plaintiff’s sixth claim for relief, and it should be

  dismissed for failure to state a claim.

            Additionally, the sixth claim for relief is duplicative of Plaintiff’s breach of

  contract claim. It does not assert the breach of any duty independent of the

  Contract. Plaintiff alleges that it performed its duties “under the contract[,]” that it

  invoiced Pharmatech for those services, and that Pharmatech did not pay the

  amount due because of Plaintiff’s supposed performance of the Contract services.

  Complaint at ¶¶ 41-43. The sixth claim for relief is no different than a breach of

  contract claim and should be dismissed as duplicative. See Consol. Brick & Bldg.

  Supplies, Inc. v. Alosi Const., Inc., Civ. A. No. 05-1490, 2006 WL 2135805, at *7

  (D.N.J. July 28, 2006) (after addressing breach of contract claim, court refused to

  address claim for account stated because it was “duplicative”).



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  IV.      Pursuant to the Liability Clause in the Contract, the Court Should
           Dismiss Plaintiff’s Request For All Compensatory and Punitive
           Damages As Well As Any Costs and Fees and Other Special Damages
           Under the express terms of the Contract, Plaintiff is not entitled to punitive

  or other special damages, fees or costs. See Contract at § 7 (precluding recovery of

  any special, consequential, indirect, or special damages arising out of the services

  performed under the Contract, or any amounts in excess of the fees paid in

  connection with the Contract). Because the Contract unambiguously limits the

  relief Plaintiff can obtain and prohibits the types of damages Plaintiff seeks in

  several of its claims, the Plaintiff’s request for those excess damages is barred by

  the Contract, and should be denied. See Centerpoint Grp. LLC v. Perot Sys. Inc.,

  Civ. A. No. 10-806, 2010 WL 2522080, at *3 (D.N.J. June 15, 2010) (giving

  effect, on motion to dismiss, to “unambiguous limitation of liability provision” in

  contract to find plaintiff did not plead viable damages element in breach of contract

  claim).

  V.       Plaintiff Fails to Plead its Apparent Misappropriation Claim with
           Sufficient Particularity and The Court Should Require That Plaintiff
           Provide a More Definite Statement
           Plaintiff’s fourth claim for tortious interference with prospective economic

  advantage should be dismissed for the reasons set forth above. See supra, Section

  II.B. (discussing dismissal for failure to state a claim and under the economic loss

  rule).


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        In the alternative, and to the extent the Court does not dismiss the fourth

  claim, Plaintiff should be ordered to provide a more definite statement pursuant to

  F.R.C.P. 12(e). Following such an order, Pharmatech requests dismissal of the

  fourth claim if the order is not timely obeyed as contemplated by F.R.C.P. 12(e).

        The Complaint’s fourth claim for relief alleges that Pharmatech has taken

  some alleged “proprietary business information designed and developed by CMP,”

  and “all of CMP’s business contact information.”         Complaint at ¶ 30.       The

  allegation appears to amount to a claim for misappropriation of a trade secret, but

  the Complaint fails to specify the allegations in any meaningful detail, especially in

  light of the fact that the raison d’être of the Contract was to put Pharmatech in

  touch with other businesses.

        On this pleading, Pharmatech cannot discern what “proprietary business

  information” forms the basis for the allegation, on what basis that supposed

  information is proprietary, whether the information was actually provided to

  Pharmatech, or whether Pharmatech actually has the purported information in its

  possession. Thus, under F.R.C.P. 12(e), the claim is so vague and ambiguous that

  the Defendant cannot reasonably prepare a response. Moreover, a more definite

  statement will help define the contours of discovery in this case.

        This result is appropriate because courts around the country have found that

  claims alleging misappropriation of a trade secret must identify with particularity


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  the trade secrets at issue. See, e.g., Saturn Sys. Inc. v. Militare, 252 P.3d 516, 522

  (Colo. App. 2011) (a “plaintiff should describe the subject matter of the trade

  secret with sufficient particularity.”) (citing Imax Corp. v. Cinema Techs., Inc., 152

  F.3d 1161, 1164-65 (9th Cir. 1998)); Knights Armament Co. v. Optical Sys. Tech.,

  Inc., 254 F.R.D. 463, 468 (M.D.Fla. 2008) (“It is axiomatic that a party may not

  assert a cause of action for misappropriation of trade secrets without identifying for

  the opposing party the trade secrets at issue.”); Sutra, Inc. v. Iceland Express, EHF,

  Civ. A. No. 04-11360, 2008 WL 2705580, at *3 (D. Mass July 10, 2008)

  (dismissing trade secret claim for failure to identify trade secret with particularity

  and stating, “It is hornbook law that ‘the parties and the court cannot accurately

  decide the question of whether a trade secret exists without first understanding

  what precisely is asserted as a secret.’”); DeRubeis v. Whitten Tech., Inc., 244

  F.R.D. 676, 681 (N.D. Ga. 2007) (“Weighing the various considerations, the Court

  finds that it is appropriate in this case to require Whitten to first identify with

  ‘reasonable particularity’ those trade secrets it believes to be in issue.”); Porous

  Media Co. v. Midland Brake, Inc., 187 F.R.D. 598, 600 (D. Minn. 1999)

  (“Ordering the listing of trade secrets at the outset of the litigation is a common

  requirement. . . . Failure to identify the trade secrets with sufficient specificity

  renders the Court powerless to enforce any trade secret claim.”); FMC Corp. v.

  Cyprus Foote Mineral Co., 899 F. Supp. 1477, 1481 (W.D.N.C. 1995) (“FMC has


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  not come forward with evidence establishing the precise nature of its trade

  secrets.”); Levenger Co. v. Feldman, 516 F. Supp. 2d 1272, 1287 (S.D. Fl. 2007)

  (“For there to be actionable misappropriation, the party asserting trade secret

  protection bears the dual burden of describing the alleged trade secret information

  and also showing that it has taken reasonable steps to protect this secrecy . . .”);

  Analog Devices, Inc. v. Michalski, 579 S.E.2d 449, 453 (N.C. App. 2003) (“It is

  generally accepted that a plaintiff must identify a trade secret with sufficient

  particularity so as to enable a defendant to delineate that which he is accused of

  misappropriating and a court to determine whether misappropriation has or is

  threatened to occur.”); Del Monte Fresh Produce Co. v. Dole Food Co., 148 F.

  Supp. 2d 1322, 1325 (S.D. Fl. 2001) (“Because Del Monte is asking this court to

  find that trade secrets exist and were misappropriated by Dr. Funk, Del Monte

  must reveal the information it ultimately seeks to protect.”).

        This threshold disclosure requirement for discovery in trade secret cases

  serves several purposes. First, this requirement ensures that a plaintiff bringing a

  misappropriation of trade secret claim cannot simply go on a “fishing expedition”

  to discover a defendant’s own trade secrets that may not be at all relevant to the

  claim of misappropriation. Second, and relatedly, a particularized description of

  the allegedly misappropriated trade secret will inform the relevancy of the

  discovery to be conducted in the case, and prevents a plaintiff from simply shaping


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  its misappropriation allegations to whatever the plaintiff discovers from a

  defendant. Third, the specificity requirement facilitates a defendant’s right to

  prepare a defense. See generally Kevin R. Casey, Identification of Trade Secrets

  during Discovery: Timing and Specificity, 24 AIPLA Q.J. 191, 204-212 (1996),

  and authorities cited therein. To enforce these principles, the question of the

  sufficiency of a plaintiff’s disclosure of allegedly misappropriated trade secrets is a

  fact-specific question to be determined on a case-by-case basis. Id. at 241.

        Plaintiff insufficiently defines what it means by “proprietary business

  information” and “business contact information[.]” Complaint at ¶ 30. Unless

  Plaintiff provides a more definite statement of what it means by “proprietary

  business information” and “business contact information,” Pharmatech cannot

  reasonably respond to Plaintiff’s allegations.      Depending upon how Plaintiff

  defines these terms, Pharmatech may have any number of responses, including but

  not limited to:

            • The information is not confidential or of value.

            • To the extent the information was confidential or of value, Plaintiff
              did not protect that information or otherwise disclosed it.

            • Pharmatech has no knowledge of the information.

  However, without a more definite statement of what Plaintiff means by

  “proprietary      business   information”   and   “business    contact   information,”

  Pharmatech cannot meaningfully respond.
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        Further, unless Plaintiff defines the “proprietary business information” and

  “business contact information” that it believes have been misappropriated with

  reasonable particularity, the Court and the parties will be limited in their ability to

  apply the rules of discovery to this case.       As such, Pharmatech respectfully

  requests that the Court order Plaintiff to provide a more definite statement pursuant

  to F.R.C.P. 12(e).

  VI.   This Case Should be Transferred to the District of Colorado Pursuant
        to the Contract’s Forum Selection Clause and 28 U.S.C. § 1404(a)
        To the extent the Court declines to dismiss this matter for all the reasons set

  forth above, this case should be transferred pursuant to the Contract’s venue (or

  forum selection) clause.

        Clause 12 of the Contract is labeled “Venue[.]” This clause clearly relates to

  Colorado. Plaintiff drafted, and both parties agreed to and signed, the Contract

  containing the very venue clause Plaintiff now ignores. By signing the Contract

  with a “Venue” clause that relates to Colorado, Pharmatech manifested an intent to

  litigate all disputes related to the Contract in Colorado. There is no clause in the

  Contract that disclaims the clause headers—such as the “Venue” header—as non-

  substantive. Labeling clause 12 with a “Venue” header in connection with a

  reference to Colorado reflects a desire to enter into a binding Colorado forum-

  selection clause.    As such, this case should be transferred to the District of

  Colorado pursuant to 28 U.S.C. § 1404(a).

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        To the extent that clause 12 of the Contract—which conjoins a “Venue”

  header with mention of Colorado—is considered ambiguous as to the proper

  venue for this dispute, that ambiguity should be construed against Plaintiff, who

  drafted the Contract. Fenimore v. Stauder, 527 P.2d 943, 945 (Colo. App. 1974)

  (where a contract contains ambiguities, its terms are “to be construed against the

  drafter” of the contract). Applying such construction, the Court should interpret

  clause 12 of the Contract to be a Colorado forum-selection clause and transfer this

  case to Colorado pursuant to 28 U.S.C. § 1404(a).

                                   CONCLUSION

        In light of the foregoing, the Court should dismiss the Complaint and

  provide such further relief as is just and proper, including awarding Pharmatech its

  reasonable attorney fees pursuant to C.R.S. § 13-17-201. See Gognat v. Ellsworth,

  224 P.3d 1039, 1054-55 (Colo. App. 2009), aff'd, 259 P.3d 497 (Colo. 2011)

  (affirming award of fees under statute for nonresident's successful dismissal of

  action for lack of personal jurisdiction and holding that request for fees does not

  constitute consent to jurisdiction); Crow v. Penrose-St. Francis Healthcare Sys.,

  262 P.3d 991, 997 (Colo. App. 2011) (fee-shifting statute applies where breach of

  contract claims are dismissed along with tort claims). Alternatively, and in the

  event the Court declines to dismiss the Complaint and/or the individual claims




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  therein, the Court should order Plaintiff to provide a more definite statement with

  respect to its fourth claim for relief and transfer venue to the District of Colorado.

  Respectfully submitted September 2, 2014.



                                          /s Maritza Dominguez Braswell
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